` Case 1:03-cV-01230-.]DB-tmp Document 32 Filed 04/22/05 Page 10f4 Page|D 63

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LORENZO WEBB, )
Plaintiff, §
vs. § Civil Action No.: 1:03-1230- B/P
CORRECTIONS CORPORATION §
OF AMERICA, et al., )
Defendants. l
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Cornpel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to tile a Motion to Compel is extended up to and including June 10, 2005.

’(Il§@,.\

IUDGE

DATED; L{/Z~z‘”l/ °5

IT IS SO OR_DERED.

 

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CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
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37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Colurnbia, SC 29201 on

April 14, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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Honorable .1. Breen
US DISTRICT COURT

